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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


MEGAN FOX and BRIDGET MCMAHON, CIVIL ACTION
on behalf of themselves and all others
similarly situated,                    No. 2:20-cv-01448-WSS

                      Plaintiffs,

               v.

CHIPOTLE MEXICAN GRILL, INC., t/d/b/a
CHIPOTLE,

                      Defendant.


            PLAINTIFFS’ MOTION TO MODIFY CASE MANAGEMENT ORDER
             TO EXTEND DEADLINE FOR SERVICE OF EXPERT REPORTS

       Plaintiffs Megan Fox and Bridget McMahon, on behalf of themselves and all

others similarly situated, and through their undersigned counsel, move this Honorable

Court to modify the Case Management Order of April 7, 2021, upon the following

grounds:

       1.      On April 7, 2021, this Court entered a Case Management Order (“CMO”),

a copy of which is attached to this Motion as Exhibit 1.

       2.      The CMO currently requires “Expert Reports as to class certification” to be

served by September 15, 2021.

       3.      However, class certification discovery, a necessary precursor to several

aspects upon which an expert would opine, does not close until November 19, 2021.

       4.      Plaintiffs have been attempting to obtain relevant class discovery, to which

Defendant Chipotle has largely objected. See Defendant’s Responses and Objections

to Plaintiffs’ First Set of Discovery Requests, attached as Exhibit 2.
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        5.    Plaintiffs have also Noticed the depositions of several Chipotle managers

since June, 2021, but either because of scheduling conflicts or the fact that there has

been a turnover of managers at several Chipotle locations, these depositions have not

occurred, through no fault of either party.

        6.    On September 3, 2021, Plaintiffs sent a “meet and confer” letter, attached

hereto as Exhibit 3, to Chipotle’s counsel. In that letter, Plaintiffs referenced the need

to obtain access to data Chipotle was refusing to produce “for analysis by Plaintiffs’

experts.”

        7.    Chipotle’s counsel did not respond to Plaintiffs’ letter until 5:27 p.m. on

September 17, 2021 (although Plaintiffs requested a response by September 10, 2021).

See Exhibit 4.

        8.    Chipotle’s response will necessitate a Motion to Compel, which will be

filed no later than September 27, 2021. But, in any event, Plaintiffs should not be

prejudiced by Chipotle’s refusal to provide discovery which is necessary to support a

class certification expert’s report.

        WHEREFORE, Plaintiffs respectfully move this Honorable Court to modify its

April 7, 2021 Case Management Order to (a) extend the deadline for serving principal

expert reports as to class certification until November 1, 2021, and (b) extend the

deadline to serve rebuttal expert reports as to class certification until November 10,

2021.

                                                Respectfully submitted,

                                                ROTHMAN GORDON, P.C.

                                                By:    /s/ Frank G. Salpietro
                                                       Frank G. Salpietro, Esquire
                                                       Pa. I.D. No. 47154
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